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Row
1     2021 Monitoring Plan
2     General Notes:
      This sets forth requirements, milestones, deliverables, and deadlines related to Consent Decree oversight and implementation. This covers activities
      anticipated to be conducted in the calendar year 2021 (January 1, 2021 through December 31, 2021).

      For all deadlines established below, the Monitoring Team and the Parties agree that the deadlines might, in some instances, need to be extended by a brief
      interval to allow or accommodate unforeseen circumstances or unexpected, minor delays. Accordingly, if and only if all of the Monitoring Team, the United
      States, and the City agree that an extension for any of the deadlines outlined below is warranted and acceptable, the deadline may be extended by an
      interval of up to 45 days without receiving formal approval of the Court for an extension of the deadline. (Deadlines for Court filings, however, may be
      extended only by Court order.) No deadline may be extended by more than 45 days without approval of the Court. If any or all of this 45-day period is used,
      the Monitoring Team will formally notify the Court of the deadline extension(s). The extension of any specific deadline, or deadlines, will not change or
      otherwise affect any other deadline. Unless the Monitoring Team identifies problems with a deadline extension or otherwise raises issues with the Court,
      neither of the Parties, the Court, or the public should interpret changes in deadlines to reflect problems in implementation or a lack of progress.
3     Definitions:
      For purposes of the following deadlines, and unless otherwise expressly noted to the contrary, "annual" means once per calendar year. "Semi-annual"
      means two times per year at a pace of once per six months. “Quarterly” means once every three calendar months. "Bi-weekly" means once every two
      calendar weeks. "Monthly" means once per calendar month. “Bi-monthly” means once every two calendar months. "Days" means calendar days. If a
      listed deadline falls on a weekend or federal, state, local, or Court holiday, the deadline may be satisfied by submission or completion of the identified
      deliverable on the next business day.
4
                                                                                                                Responsible
           Area               Sub-Area                                  Milestone                              Stakeholder(s)     Deliverable      Deadline(s)
5
      Evaluating the Status of Compliance

6


                                               The Monitoring Team will prepare semi-annual reports to the
                          Regular              Court on the City’s compliance with the Settlement                                                June 1, 2021
      Monitoring          Monitoring           Agreement. The Monitoring Team will provide a draft report      Monitoring        Draft Reports   November 8,
      Reports             Reports              to the Parties for comment and feedback.                        Team              to Parties      2021
7



                          Regular              The Monitoring Team will incorporate feedback from the                                            June 11, 2021
      Monitoring          Monitoring           Parties, as appropriate, and file a Final Semi-Annual Report    Monitoring        Semi-Annual     December 13,
      Reports             Reports              with the Court.                                                 Team              Reports Filed   2021




                                                                                1
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8                                     The Monitoring Team will oversee a Compliance Status
                                      Update of the major, enumerated topics of the Consent
                                      Decree to determine SPD and the City’s current status in
                                      each area.

                                      The areas for consideration will be: (1) use of force (including
                                      crowd management, reporting, investigation, and review); (2)
                                      crisis intervention; (3) stops and detentions; (4) supervision.

                                      In each area, the City will provide agreed data analysis,
                                      evaluation, and audits. To the extent that existing reporting
                                      processes or auditing initiatives may address the areas for
                                      consideration listed above, the results of these processes
                                      may be submitted to the Monitoring Team.

                                      Upon the City’s completion of the work as agreed upon by
                                      the Monitoring Team and the Parties, the Monitoring Team
                                      will independently evaluate and audit the work conducted in
                                      each area for accuracy and integrity. It will analyze such
                                      information and evaluate the extent to which the City’s
                                      performance conforms with requirements of the Consent
                                      Decree.

                                      As part of its examination of SPD’s Use of Force, the
                                      Monitoring Team will conduct an in-depth evaluation of
                                      SPD’s response to the protests occurring since May 25,
                                      2020, including compliance with Consent Decree
                                      requirements related to use of force, use of force reporting
                                      and investigation, and constitutional policing, generally.

                                      As an initial step, the Parties and the Monitoring Team will
                                      begin meeting every other week to discuss the methodology,
                                      requirements, scheduling, and progress of the Compliance
                                      Status Update. In discussing and developing the
                                      methodology, the Monitoring Team and the Parties will use          SPD, City, DOJ,              Commencing
    Compliance                        as their reference point the audits, reports, and studies from     Monitoring        Meetings   February 8
    Status Update   General           the Sustainment Period.                                            Team              Begin      2021




                                                                        2
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9                                     After meeting with the Parties to discuss the methodology,
                                      the Monitoring Team will provide a proposed draft
                                      methodology to the Parties for the Compliance Status Update
                                      covering these areas: (1) use of force (including crowd
                                      management, reporting, investigation, and review); (2) crisis
                                      intervention; (3) stops and detentions; (4) supervision.

                                      The methodology will identify the Consent Decree
                                      requirements being evaluated. In addition, it will identify the
                                      data elements, documents, records, and other information
                                      from SPD upon which the Monitoring Team’s compliance
                                      evaluation will be based. In recognition of the importance of                      Draft
                                      bias-free policing to public trust, the methodologies in these                     Methodology
     Compliance      Analysis &       four areas will be developed with consideration of race and       Monitoring       Provided to    February 19,
     Status Update   Auditing         social justice impacts.                                           Team             Parties        2021
10                                                                                                                       Feedback
                                      The Parties will provide feedback and comments on the draft                        Provided to
     Compliance      Analysis &       methodology for the Compliance Status Update areas (1) –                           Monitoring
     Status Update   Auditing         (4).                                                              Parties          Team           March 5, 2021
11                                                                                                                       Final
                                                                                                                         Methodology
     Compliance      Analysis &       Monitoring Team will provide the final methodology for the        Monitoring       Provided To
     Status Update   Auditing         Compliance Status Update areas (1) – (4) to the Parties.          Team             parties        March 19, 2021
12                                    SPD will provide agreed upon information, data, analytics,                         Compliance
                                      and/or the completion of various audits or analyses relating                       Information
                                      to (1) use of force (including in-depth look at crowd                              Provided to
     Compliance      Analysis &       management, reporting, investigation, and review); (2) crisis                      Monitoring     April 30 and
     Status Update   Auditing         intervention; (3) stops and detentions; (4) supervision.          SPD, City        Team           July 30, 2021
13                                    To facilitate oversight and long-term trend analysis, SPD will
                                      provide quarterly reports and analysis on agreed data
                                      elements in these areas to the Monitoring Team and DOJ.
                                      The Monitoring Team and DOJ may provide independent
                                      review and analysis. The data and analysis will be structured                      Quarterly      April 30, 2021
                                      in a manner that supports continuity in reporting post-                            Reporting to   July 30, 2021
     Compliance      Analysis &       Consent Decree to OIG as the entity charged by the City with                       Monitoring     October 30,
     Status Update   Auditing         oversight of fidelity to Consent Decree reforms.                  SPD, City        Team           2021
14                                                                                                                       Draft
                                                                                                                         Compliance
                                                                                                                         Status
                                                                                                                         Update
     Compliance                       The Monitoring Team will provide to the Parties and               Monitoring       Provided to    September 15,
     Status Update   Report           Accountability Partners a draft Compliance Status Update.         Team             Parties        2021
15                                                                                                                       Feedback
                                                                                                        City, DOJ,       Provided to
     Compliance                       The Parties will provide feedback on the draft Compliance         Accountability   Monitoring     October 15,
     Status Update   Report           Status Update.                                                    Partners         Team           2021

                                                                        3
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16                                                                                                                              Final
                                                                                                                                Accountabilit
                                                                                                                                y Structure
     Compliance                           The Monitoring Team will file the final Compliance Status           Monitoring        Assessment      November 15,
     Status Update     Report             Update with the Court.                                              Team              Report Filed    2021
17                                        If the Monitoring Team, based upon the outcome of the work
                                          set forth in this Monitoring Plan, believes that another plan for
                                          2022 is necessary, the Monitoring Team and the Parties will
                                          meet to discuss the content of that plan. After meeting, the                          Meeting with
                                          Monitoring Team will propose a draft plan for 2022, and the                           Monitoring
                                          Parties will return feedback and comment within 15 days of          Monitoring        Team and        November 30,
     Monitoring Plan   Monitoring Plan    receiving a draft.                                                  Team              Parties         2021
18
     Accountability

19
     Front-End Accountability

20                                                                                                                              2020
                                          The City provided revised Use of Force policies, updated                              Proposed
                                          pursuant to its annual review and revision process, to OIG,                           Updated Use
                                          OPA, CPC, DOJ, and the Monitoring Team for review and                                 of Force
                                          feedback (the “2020 Proposed Updated Use of Force                                     Policies        December 2,
     Use of Force      Policies           Policies”).                                                         City, SPD         Provided        2020
21
                                          DOJ and the Monitoring Team provided feedback on the                DOJ, Monitoring   Feedback        January 8,
     Use of Force      Policies           2020 Proposed Updated Use of Force Policies.                        Team              Provided        2021
22
                                          OIG, OPA, and CPC provide feedback on the 2020 Proposed                               Feedback        January 31,
     Use of Force      Policies           Updated Use of Force Policies.                                      OIG, OPA, CPC     Provided        2021
23                                                                                                                              Submission
                                                                                                                                of 2020
                                          The City will revise the 2020 Proposed Updated Use of Force                           Updated Use
                                          Policies as appropriate and the City will file them with the                          of Force        February 11,
     Use of Force      Policies           Court.                                                              City, SPD         Policies        2021
24                                                                                                                              Submission
                                                                                                                                of 2020
                                                                                                                                Proposed
                                          The City provided revised Crowd Management Policies, to                               Updated
                                          OIG, OPA, CPC, DOJ, and the Monitoring Team for their                                 Crowd
     Crowd                                initial review and feedback (the “2020 Proposed Updated                               Management      December 2,
     Management        Policies           Crowd Management Policies”).                                        City, SPD         Policies        2020




                                                                            4
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25
     Crowd                             DOJ and the Monitoring Team provided feedback on the             DOJ, Monitoring   Feedback       January 8,
     Management     Policies           2020 Proposed Updated Crowd Management Policies.                 Team              Provided       2021
26                                                                                                                        Submission
                                                                                                                          of Feedback
                                                                                                                          on 2020
                                                                                                                          Proposed
                                                                                                                          Updated
                                                                                                                          Crowd
     Crowd                             OIG, OPA, and CPC will provide feedback on the 2020              Accountability    Management     January 31,
     Management     Policies           Proposed Updated Crowd Management Policies.                      Partners          Policies       2021
27                                                                                                                        Submission
                                                                                                                          of 2020
                                                                                                                          Proposed
                                                                                                                          Updated
                                       SPD will revise the 2020 Proposed Updated Crowd                                    Crowd
     Crowd                             Management Policies as appropriate and the City will file this                     Management     February 11,
     Management     Policies           interim policy with the Court.                                   City, SPD         Policies       2021
28                                     The City will engage in a comprehensive, affirmative,
                                       intensive initiative to obtain community input regarding its
                                       Crowd Management Policies. This should use a diverse set
                                       of strategies and approaches to ensure that individuals of
                                       varying experiences, backgrounds, and abilities can engage                         Community
                                       equally. That may include small-group conversations,                               Dialogue &
     Crowd                             electronic feedback tools, civic events, organizational          City, CPC, OIG,   Deliberation   January -July
     Management     Policies           partnerships, and individual outreach.                           SPD               Process        2021
29                                     The Accountability Partners have the opportunity to provide a
                                       second round of comments and feedback regarding SPD’s
     Use of Force                      Crowd Management and Use of Force Policies based on any
     and Crowd                         analysis and community engagement they conducted during          Accountability    Feedback
     Management     Policies           the first half of 2021.                                          Partners          Provided       July 30, 2021
30                                                                                                                        2021
                                                                                                                          Proposed
                                       The City via SPD will revise its Crowd Management and Use                          Updated
                                       of Force Policies as appropriate to reflect community input                        Crowd
                                       and the second round of feedback from the Accountability                           Management
     Use of Force                      Partners. It will provide DOJ, the Monitoring Team, and the                        and Use of
     and Crowd                         Accountability Partners with 2021 Proposed Updated Crowd                           Force          September 10,
     Management     Policies           Management and Use of Force Policies for review.                 SPD               Policies       2021
31                                     The DOJ, the Monitoring Team, and the Accountability             DOJ, Monitoring
     Use of Force                      Partners will provide the City and SPD with feedback,            Team,
     and Crowd                         comments, and input on the 2021 Proposed updated Crowd           Accountability    Feedback       October 22,
     Management     Policies           Management and Use of Force Policies.                            Partners          Provided       2021




                                                                        5
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32                                                                                                                      Submission
     Use of Force                       The City and SPD will revise the 2021 Proposed Updated                          of 2021
     and Crowd                          Crowd Management and Use of Force Policies as                                   Updated         November 19,
     Management      Policies           appropriate and the City will file them with the Court.            City, SPD    Policies        2021
33                                      OIG is convening a Sentinel Event Review, involving
                                        community members and subject matter experts, to critically
                                        assess the protest incidents to determine ways to prevent                       Sentinel
                     Internal           future similar events. The focus will be systems improvement                    Event           Ongoing Since
     Crowd           Accountability,    with community perspective and law enforcement subject                          Review          January 10,
     Management      Policies           matter experts at the table.                                       OIG          Panels          2021
34                                      OIG will provide its systemic evaluation and
                                        recommendations to the Parties, Monitoring Team, and the
                                        Court. The July 30 filing will include a status update of work
                                        accomplished and planned work remaining, copies of
                                        Sentinel Event Review panel reports with recommendations
                     Internal           issued to date, and an assessment of how the Sentinel Event
     Crowd           Accountability,    Review model could be implemented on a permanent basis                          Review/Repo
     Management      Policies           for future events.                                                 OIG          rt Completed    July 30, 2021
35                                      OPA will provide management action recommendations to                           Recommend
                                        SPD to address systemic issues it identifies in protest cases.                  ations and
                                        OPA will also update its August 2020 recommendations with                       Findings        Ongoing Since
                                        additional lessons learned based on in-depth review of more                     Issued          Summer 2020
                     Internal           than one hundred individual protest-related complaints. OPA
     Crowd           Accountability,    will provide its conclusions to the public, Parties, Monitoring                 Review/Repo
     Management      Policies           Team, and the Court.                                               OPA          rt Completed    July 30, 2021
36                                                                                                                                      Participation
                                                                                                                                        Commenced
                                        SPD currently maintains policies requiring officers to report                                   November
     Active                             misconduct that has occurred. To prevent misconduct in the                                      2020; Initial
     Bystandership                      first instance, and to prevent potential misconduct from                        Participation   Training
     & Peer                             materializing or escalating, SPD will participate in the Active                 in ABLE         Commenced
     Intervention    Training           Bystandership for Law Enforcement Project (“ABLE”).                SPD          Training        January 2021
37                                      SPD will implement the ABLE Training. Implementation will
     Active                             include (1) sufficient opportunity for instructors to be trained
     Bystandership                      on the curriculum and to practice conducting the training, and     SPD, DOJ,
     & Peer                             (2) the opportunity for DOJ and the Monitoring Team to             Monitoring   Training        January – April
     Intervention    Training           observe the training in real time as the training proceeds.        Team         Conducted       2021




                                                                          6
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38                                       SPD will certify to the Court that all eligible SPD officers have
                                         successfully completed the required ABLE/Peer Intervention
                                         Training. To the extent that some officers who should have
                                         completed training did not, SPD will provide the Court a
                                         description of how many officers failed to complete the
                                         training without good cause, as well as an explanation of the                         Filing of
                                         remedial efforts or disciplinary processes it utilized, or will                       Memorandu
                                         utilize, with those officers.                                                         m to the
     Active                                                                                                                    Court re:
     Bystandership                       The City will share a draft of the certification with DOJ and                         Completion
     & Peer                              the Monitor with sufficient time for the Parties to review and                        of ABLE
     Intervention     Training           provide feedback on the certification before filing.                SPD, City         Training       April 30, 2021
39   Use of Force,
     Crowd
     Management,
     Active                                                                                                                    Public
     Bystandership                       SPD will work to increase public awareness about its use of                           Awareness
     & Peer                              force training, crowd management training, crisis intervention                        Efforts        By June 30,
     Intervention     Training           training, and active bystander and peer intervention training.      SPD               Conducted      2021
40
     Back-End Accountability

41                                       The Parties recognize the critical importance of a robust
                                         disciplinary system, and further recognize that a pattern and
                                         practice of inadequate accountability for officers could
                                         threaten to undermine substantial compliance with the
                                         requirements of the Consent Decree. To that end, SPD will
                                         meet with the Monitoring Team and DOJ monthly to discuss
                                         the status of activities pertaining to the system of officer
                                         discipline for misconduct. If DOJ or the Monitor determine,
                                         based on this information, that a potential compliance issue
                                         has arisen, then the Parties and the Monitor will notify the
                                         Court and develop an agreed methodology for how to
                                         evaluate the compliance implications within 30 days.

                                         Relevant activities and progress may encompass, but are not
                                         limited to, those involving: updates on the timeline of                               Monthly
                                         negotiations with police officer unions; statewide legislative                        Meetings re:
                      Discipline         activity; local legislative or regulatory activity, whether         City, DOJ, SPD,   Discipline     Commencing
     Officer          Process &          through legislative or executive processes; and the status of       Monitoring        Process &      February 8
     Discipline       System             current practices and processes within SPD and the City.            Team, OPA         System         2021




                                                                           7
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42                                The City will provide quarterly updates to the Court regarding
                                  the status of activities pertaining to the system of officer
                                  discipline for misconduct.

                                  The updates should provide de-identified, quantitative data
                                  with respect to officer discipline, including a breakdown of the
                                  numbers of investigations pending, completed, dispositions,
                                  adjudications by the Chief’s office, whether the SPD
                                  adjudication was appealed, and the status or result of the
                                  appeal or arbitration.                                                                 February 4,
                                                                                                                         2021
                                  Each update will address the immediately preceding,                       Quarterly    April 30, 2021
                  Discipline      recently-completed standard calendar quarter (e.g., the                   Updates      July 30, 2021
     Officer      Process &       February 4, 2021 filing will address activities that occurred             Filed with   October 29,
     Discipline   System          from October 1, 2020 through December 31, 2020.                    City   Court        2021




                                                                    8
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43
     Technical Assistance to Support SPD Innovation & Risk Management

44                                      The Monitor and DOJ recognize that the Consent Decree
                                        gives the City substantial leeway to structure how it will
                                        design and deliver systems that support innovation and help
                                        it manage risk. At the same time, the City recognizes that
                                        innovation and risk management initiatives should not
                                        undermine substantial compliance with the Consent Decree
                                        requirements in these areas: supervision; training; crisis
                                        intervention; data tracking and analysis; and use of force
                                        reporting, investigation, and review. Accordingly, DOJ’s and
                                        the Monitoring Team’s interest in innovation and risk
                                        management is to ensure that changes are not undertaken in
                                        a manner that brings the City out of compliance with any of
                                        these Consent Decree requirements.

                                        SPD will meet with the DOJ and Monitoring Team monthly to
                                        discuss the status of all activities pertaining to the
                                        implementation and findings of its Compstat for Justice
                                        (“C4J”) initiative, the Early Intervention System (“EIS”)
                                        initiative, and the Officer Wellness Initiative. This ongoing
                                        review will include but is not limited to the status of efforts to
                                        understand and manage risk in key trends, patterns, and/or
                                        disparities in public safety.
                                                                                                                               Monthly
                                        If DOJ or the Monitor determine that a potential compliance                            Meetings re:
     Innovation &                       issue has arisen, then the Parties and the Monitor will notify       City, DOJ, SPD,   Initiative     Commencing
     Risk                               the Court and develop an agreed methodology for how to               Monitoring        Implementati   February 8,
     Management       General           evaluate the compliance implications within 30 days.                 Team              on             2021
45                                      The City will provide quarterly reports to the Court regarding
                                        the implementation of the various initiatives within the
                      Compstat for      Innovation and Risk Management area.
                      Justice, Early                                                                                                          June 30, 2021
                      Intervention      Each update will address the immediately preceding,                                    Quarterly      September 30,
     Innovation &     System, Officer   recently-completed standard calendar quarter (e.g., the June                           Updates        2021
     Risk             Wellness          30, 2021 filing will address activities that occurred from April                       Filed with     December 31,
     Management       Initiative        1, 2021 through June 30, 2021.                                       City              Court          2021




                                                                           9
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46
     Technical Assistance to Support Re-Imagining Public Safety

47                                        DOJ and the Monitoring Team will each select a designee to
                                          attend workgroup meetings of the City’s Re-Imagining Public
                                          Safety Interdepartmental Team.

                                          For purposes of this Monitoring Plan, “matters relating to Re-
                                          Imagining Public Safety” include any potential activity by any
                                          City agency, entity, or stakeholder that assigns responsibility
                                          to non-SPD agencies, community entities, or stakeholders for
                                          public safety or community well-being issues that previously
                                          have been addressed by SPD. The Monitor and DOJ
                                          recognize that the Consent Decree gives the City substantial
                                          leeway to structure how it will deliver community services
                                          traditionally considered to be “police services.” At the same
                                          time, the City recognizes that major reductions to SPD’s
                                          funding or staffing could threaten to undermine substantial
                                          compliance with the Consent Decree requirements in these
                                          areas: supervision; training; crisis intervention; data tracking
                                          and analysis; and use of force reporting, investigation, and
                                          review. Accordingly, DOJ’s and the Monitoring Team’s
                                          interest in Re-Imagining Public Safety is to ensure that
                                          changes are not undertaken in a manner that brings the City
                                          out of compliance with any of these Consent Decree
                                          requirements.
                                                                                                                               Regular
     Technical                            If DOJ or the Monitor determine, based on this information,                          Workgroup
     Assistance to                        that a potential compliance issue has arisen, then the Parties                       Meetings re:
     Support Re-                          and the Monitor will notify the Court and develop an agreed        City, DOJ, SPD,   Re-Imagining    Commencing
     Imagining         Framework          methodology for how to evaluate the compliance                     Monitoring        Public Safety   February 8
     Public Safety     Implementation     implications.                                                      Team              Framework       2021
48                                        The City will provide quarterly updates to the Court regarding
                                          the status of matters relating to “Re-Imagining Public Safety”
     Technical                            and the deliberation or implementation of what the City
     Assistance to                        identifies in the Re-Imagining Public Safety Framework.                              Quarterly       March 30, 2021
     Support Re-                                                                                                               Updates         June 30, 2021
     imagining         Framework          Each update will address the immediately preceding                                   Filed with      September 30,
     Public Safety     Implementation     quarterly period.                                                  City              Court           2021




                                                                           10
